 1   MARIO N. ALIOTO (56433)
     LAUREN C. CAPURRO (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
 3   2001 Union Street, Suite 482
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   E-mail: malioto@tatp.com
     laurenrussell@tatp.com
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 7   Lead Counsel for the Indirect Purchaser Plaintiffs

 8
                                UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
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12   IN RE: CATHODE RAY TUBE (CRT)               )   MDL NO. 1917
     ANTITRUST LITIGATION                        )
13                                               )   Case No. 07-cv-5944-JST
                                                 )
14                                               )   [PROPOSED] ORDER GRANTING
15                                               )   ADMINISTRATIVE MOTION FOR
                                                 )   ORDER RE: REMAINING
16                                               )   SETTLEMENT FUNDS, FINAL
                                                 )   PAYMENT TO THE CLAIMS
17                                               )   ADMINISTRATOR, AND RELEASE OF
                                                 )   CLAIMS
18                                               )
19                                               )   Courtroom: 6, 2nd Floor
                                                 )   The Honorable Jon S. Tigar
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                 [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION FOR ORDER
         RE: REMAINING SETTLEMENT FUNDS, FINAL PAYMENT TO THE CLAIMS ADMINISTRATOR,
                     AND RELEASE OF CLAIMS; Case No. 07-cv-5944-JST, MDL No. 1917
 1
            Upon consideration of the Indirect Purchaser Plaintiffs’ (“IPPs”) Administrative Motion
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     For Order Re: Remaining Settlement Funds, Final Payment to the Claims Administrator, and
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     Release of Claims (“Administrative Motion”), it is hereby ORDERED that the Administrative
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     Motion is GRANTED as follows:
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            1.     The settlement funds remaining after the distribution to all claimants in this matter
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     in the amount of approximately $392,696.16 shall be used to pay taxes and accounting fees, as
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     well as expenses incurred by the IPPs in the continuing litigation against Irico Group Corporation
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     and Irico Display Devices Co., Ltd., subject to a further accounting and approval of the use of
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     those funds by the Court.
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            2.     The Settlement Administrator has incurred $9,071.52 in additional fees and
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     expenses in this matter, which the Court determines to be fair and reasonable. This amount shall
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     be paid to the Settlement Administrator from the fund being maintained for this purpose.
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            3.     All settlement class members and all other persons and entities that have submitted
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     claims to participate in any of the settlements, including, but not limited to, any third-party claims
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     filer, hereby release and forever discharge all persons involved in the review, verification,
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     calculation, tabulation, or any other aspect of the processing of the claims submitted herein, or
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     otherwise involved in the administration or payment of taxes or other expenses from the settlement
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     funds, including, but not limited to, all IPPs’ Counsel (“Class Counsel”) and the Settlement
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     Administrator, from any and all claims arising out of such involvement, and all settlement class
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     members and all such claimants are barred from making any further claims against the settlement
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     funds, including any interest accrued thereon, or the released parties. Nothing herein shall limit or
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     otherwise prevent Class Counsel from taking action against any person or entity for the benefit of
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     the Settlement Classes.
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            4.     The Court retains continuing jurisdiction over the settlement funds, all parties and
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     claimants, and further application or matters which may arise in connection with these actions.
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                       [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION FOR ORDER
          RE: REMAINING SETTLEMENT FUNDS, FINAL PAYMENT TO THE CLAIMS ADMINISTRATOR,
                      AND RELEASE OF CLAIMS; Case No. 07-cv-5944-JST, MDL No. 1917
 1
           IT IS SO ORDERED
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     Dated: ___________________, 2025
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 5                                               The Honorable Jon S. Tigar
                                                  Northern District of California
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                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION FOR ORDER
         RE: REMAINING SETTLEMENT FUNDS, FINAL PAYMENT TO THE CLAIMS ADMINISTRATOR,
                     AND RELEASE OF CLAIMS; Case No. 07-cv-5944-JST, MDL No. 1917
